       Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 1 of 41



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


JASON CHAPMAN, CRAIG JOHNSTON
and THOMAS BORINO, on behalf of
themselves and all others similarly situated,

                      Plaintiff,                CONSOLIDATED CLASS ACTION
                                                COMPLAINT
  v.
                                                DEMAND FOR JURY TRIAL
CYIENT,INC., RAYTHEON
TECHNOLOGIES CORPORATION,
PRATT & WHITNEY DIVISION,
AGILIS ENGINEERING, INC., BELCAN
ENGINEERING GROUP, LLC,
PARAMETRIC SOLUTIONS, INC., and
QUEST GLOBAL SERVICES-NA, INC.,

                       Defendants.
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 2 of 41



       Plaintiffs Jason Chapman, Craig Johnston and Thomas Borino (“Plaintiffs”), individually

and on behalf of a class of similarly situated individuals, brings this action for damages and

injunctive relief under the Sherman Anti-Trust Act and antitrust laws of the United States against

Cyient, Inc. (“Cyient”), Raytheon Technologies Corporation, Pratt & Whitney Division

(“P&W”), Belcan Engineering Group, LLC (“Belcan”), Agilis Engineering, Inc. (“Agilis”),

Parametric Solutions, Inc. (“PSI”), and QuEST Global Services-NA, Inc. (“QuEST”),

(collectively the “Supplier Defendants” when reference is made to Cyient,, Belcan,Agilis, PSI

and QuEST, or “Defendants” when reference is made to all).

       SUMMARY OF THE ACTION

       1.       This class action challenges an illegal conspiracy among P&W and several

outsource engineering suppliers (the “Supplier Defendants”) to restrict the hiring and recruiting

of engineers and other skilled laborers working on aerospace projects (“Engineers”) among their

respective companies (the “No-Poach Agreement”).

       2.       Defendants entered into and maintained this No-Poach Agreement at least as early

as 2011 and continued it until at least 2019. Throughout this time, and indeed until just recently,

Defendants concealed their No-Poach Agreement from their employees and independent

contractors.

       3.       The scope of the No-Poach Agreement was broad, covering at least all Engineers

employed by (or working as an independent contractor for) Defendants to work on P&W projects

and statements of work in the United States and its territories.

       4.       This No-Poach Agreement was intended to, and did, reduce competition for

Engineers’ services and, as a result, suppressed the job mobility of and compensation to Plaintiffs

and the members of the proposed Class (defined below) below the levels that would have

prevailed but for the illegal No-Poach Agreement.
                                                 2
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 3 of 41



       5.       Defendants reached their unlawful horizontal agreement at the highest levels of

their organizations, through verbal agreements that were later confirmed by Defendants, by their

conduct and in their emails, which they agreed to conceal from outsiders, from their respective

employees who make up the proposed Class, and from the public. As described below,

Defendants’ senior executives periodically reaffirmed, monitored, and policed the No-Poach

Agreement.

       6.       The No-Poach Agreement was brought to light by the DOJ on December 9, 2021,

when it partially unsealed a criminal antitrust action against the Director of Global Engineering

Sourcing at P&W, Mahesh Patel. In a supporting affidavit, the DOJ alleged that Patel conspired

with the Supplier Defendants to restrict the hiring and recruiting of Engineers with the goal and

effect of suppressing Engineers’ compensation wages. See Aff. in Supp. of Criminal Compl. and

Arrest Warrant, United States v. Patel, No. 3:21-mj-1189, ECF No. 15 (D. Conn. Dec. 9, 2021)

(“DOJ Affidavit”). In addition, six executives from Defendants have been indicted for

participation in the alleged No-Poach Agreement. See Indictment, United States v. Patel, et al.,

No. 3:21-cr-00220, ECF No. 20 (D. Conn. December 15, 2021) (“Indictment”).

       7.       The DOJ Affidavit and Indictment outline how Defendants, through their officers,

directors, agents, employees, or representatives, agreed not to compete for the services of each

other’s Engineers, specifically by agreeing to restrict the hiring and recruiting of Engineers

between and among Suppliers in the United States and its territories.

       8.       The No-Poach agreement manifested in interwoven and overlapping hiring and

recruiting restrictions, all of which had the common purpose of limiting competition for, and

thereby restricting the free movement and compensation of, Engineers within the aerospace

engineering industry. The No-Poach Agreement thus artificially extended Engineers’ length of



                                                3
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 4 of 41



work at a given employer and reduced or eliminated their ability to advocate and obtain better

terms of employment at these companies, including compensation, at current and future

employers.

       9.       The hiring and recruiting restrictions that make up the No-Poach Agreement were

shaped by Defendants’ shared financial motivations, specifically a desire to suppress wages and

thereby lessen labor costs in fulfillment of aerospace contracts.

       10.      Defendants monitored each other’s compliance with the unlawful No-Poach

Agreement and communicated regarding deviations from it in order to enforce compliance. For

instance, Supplier Defendants repeatedly reported perceived rule breaking by their co-

conspirators to Patel, who in turn directed that such violations of the No-Poach Agreement cease

immediately.

       11.      Defendants directly linked the operations of the No-Poach Agreement to the

financial benefits that would accrue to them from suppressing wages, noting, for example, that

discipline in “not hir[ing] any partners’ employee” was essential to “pre[v]ent poaching and price

war.” DOJ Affidavit ¶ 24.

       12.      The No-Poach agreement was made and enforced privately, confidentially, and at

the highest levels of the organizations, and thus Defendants succeeded in concealing the No-

Poach Agreement from Plaintiffs and the members of the Class. But for the DOJ’s criminal

investigation of Patel and the resulting publication of the DOJ Affidavit exposing the No-Poach

Agreement, the existence of the anticompetitive No-Poach Agreement might have remained

permanently hidden.

       13.      Defendants were aware that their conduct was illegal. Indeed, on multiple

occasions, managers and executives raised concerns that restricting the hiring of employees as



                                                 4
                Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 5 of 41



    required by the No-Poach Agreement was illegal. But Defendants persisted in the conduct

    anyway.

           14.      Antitrust enforcers in the United States have been crystal clear that this conduct is

    unlawful.

           15.      In 2016, the Department of Justice (“DOJ”) and Federal Trade Commission

    (“FTC”) issued guidance about the anticompetitive effects of no-poach agreements like the one

    at issue in this case. The guidance made clear that agreements between employers not to solicit

    or hire each other’s employees “eliminate competition in the same irredeemable way as

    agreements to fix product prices or allocate customers, which have traditionally been criminally

    investigated and prosecuted as hardcore cartel conduct.” 1

           16.      In the ensuing years, the DOJ has continued to issue guidance to employers

    making clear that no-poach agreements remain illegal. For example, in 2019, the DOJ wrote:

           When companies agree not to hire or recruit one another’s employees, they are
           agreeing not to compete for those employees’ labor. Robbing employees of labor
           market competition deprives them of job opportunities, information, and the ability
           to use competing offers to negotiate better terms of employment. Under the antitrust
           laws, the same rules apply when employers compete for talent in labor markets as
           when they compete to sell goods and services. 2

           17.      The No-Poach Agreement reduced competition for Engineers and, as a result, it

    reduced Plaintiffs’ job mobility and enabled Defendants to pay their employees, including

    members of the Class, less than they would have been paid absent the No-Poach Agreement. The




1
 See Dep’t of Justice Antitrust Div. and Fed. Trade Comm’n, Antitrust Guidance for Human
Resource Professionals, at 4 (Oct. 2016), https://www.ftc.gov/system/files/documents/
public_statements/992623/ftc-doj_hr_guidance_final_10-20-16.pdf (last visited Dec. 14, 2021).
    2
        See No-Poach Approach, Dep’t of Justice Antitrust Div. (Sept. 30, 2019),
    https://www.justice.gov/atr/division-operations/division-update-spring-2019/no-poach-approach
    (last visited Dec. 14, 2021).

                                                      5
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 6 of 41



No-Poach Agreement is a per se unlawful restraint of trade under the federal antitrust laws and

injured Plaintiff and the members of the Class.

          18.    Defendants’ conspiracy thus has restricted trade and is per se unlawful under

federal law. Plaintiff seeks injunctive relief and damages for violations of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

          JURISDICTION AND VENUE

          19.    Plaintiff brings this action to recover treble damages, costs of suit, and reasonable

attorneys’ fees, arising from Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. §

1.

          20.    The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of the

Clayton Act, 15 U.S.C. §§ 15 and 26, and 28 U.S.C. §§ 1331 and 1337.

          21.    Venue is proper in this judicial district pursuant to Section 12 of the Clayton Act,

15 U.S.C. § 22, and 28 U.S.C. § 1391(b) because a substantial part of the events giving rise to

Plaintiff’s claims occurred in this District and a substantial portion of the affected interstate trade

and commerce was carried out in this District.

          THE PARTIES

          22.   Plaintiff Jason Chapman is a citizen and resident of the town of Newington, State of

Connecticut. Mr. Chapman was employed as a Flight Test Engineer for Cyient beginning from 2014

until 2020, working on P&W projects. During his tenure at P&W he also worked as a team lead

supervisor, as well as a team lead tool inspector. He applied for similar jobs at P&W but was not

hired. Mr. Chapman was injured in his business or property by reason of the violations alleged

herein.

          23.   Plaintiff Craig Johnston is a citizen and resident of the town of East Hartford, State of

Connecticut. Mr. Johnston was employed as a material handler and production assistant for Pratt &
                                            6
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 7 of 41



Whitney for 45 years beginning from 1975 until 2020. Mr. Johnston was injured in his business or

property by reason of the violations alleged herein

       24.    Plaintiff Thomas Borino is a citizen and resident of the town of Newington, State of

Connecticut. Mr. Borino is currently employed as a repair machinist for Pratt & Whitney. He started

there in 2015 and is presently employed at P&W. Mr. Borino was injured in his business or property

by reason of the violations alleged herein

       25.     On information and belief, Defendant P&W is identified as Company A in the DOJ

Affidavit. See DOJ Affidavit ¶ 5. P&W is a division of Raytheon Technologies Corporation and

is one of the largest aerospace engine design, manufacture, and service companies in the United

States. P&W has over 36,000 employees, including thousands of Engineers. P&W relies upon

different sources of labor to design, manufacture, and service its aerospace products, including by

hiring Engineers directly and through outsource engineering. In an outsource arrangement, an

outsource engineering supply company (a “Supplier”) enters into an agreement with P&W to

complete a particular project, assigns Engineers from among its own employees to complete that

project, and receives an agreed-upon payment from P&W for such work. P&W, thus, competes

with the Supplier Defendants to recruit and hire Engineers, while also outsourcing Engineers from

the Supplier Defendants. P&W executive Mahesh Patel was indicted for his participation in the

alleged No-Poach Agreement.

       26.     On information and belief, Defendant QuEST is identified as Company B in the

DOJ Affidavit. See id. ¶ 6(a). QuEST is an Ohio corporation with a principal place of business in

East Hartford, Connecticut. QuEST supplies Engineers who worked on projects for P&W and

other aerospace firms on an outsource basis. QuEST competes with P&W as well as the other

Supplier Defendants to recruit and hire Engineers. QuEST also competes with other Supplier

Defendants for outsource work from P&W and does so on the basis of, among other things, price.

                                                7
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 8 of 41



QuEST executives Robert Harvey and Harpreet Wasan were indicted for their participation in the

alleged No-Poach Agreement.

       27.     On information and belief, Defendant Belcan is identified as Company C in the

DOJ Affidavit. See id. ¶ 6(b). Belcan is an Ohio corporation with a principal place of business in

Windsor, Connecticut. Belcan supplies Engineers who work on projects for P&W on an outsource

basis. Belcan competes with P&W as well as the other Supplier Defendants to recruit and hire

engineers. Belcan also competes with other Supplier Defendants for outsource work from P&W

and does so on the basis of, among other things, price. Belcan executive Steve Houghtaling was

indicted for his participation in the alleged No-Poach Agreement.

       28.     On information and belief, Defendant Cyient is identified as Company D in the

DOJ Affidavit. See id. ¶ 6(c). Cyient, formerly known as Infotech Enterprises Limited, is a

California corporation with a principal place of business in East Hartford, Connecticut. Cyient

supplies Engineers who worked on projects for P&W on an outsource basis. Cyient competes

with P&W as well as the other Supplier Defendants to recruit and hire Engineers. Cyient also

competes with other Supplier Defendants for outsource work from P&W and does so on the

basis of, among other things, price. Cyient executive Tom Edwards was indicted for his

participation in the alleged No-Poach Agreement.

       29.     On information and belief, Defendant PSI is identified as Company E in the DOJ

Affidavit. See id. ¶ 6(d). PSI is a Florida corporation with offices in Jupiter, Florida. PSI supplies

Engineers who worked on projects for P&W on an outsource basis. PSI competes with P&W as

well as the other Supplier Defendants to recruit and hire Engineers. PSI also competes with other

Supplier Defendants for outsource work from P&W and does so on the basis of, among other

things, price. PSI executive Gary Prus was indicted for his participation in the alleged No-Poach

Agreement.
                                                 8
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 9 of 41



        30.    On information and belief, Defendant Agilis is identified as Company F in the DOJ

Indictment. See id. ¶ 6(e). Agilis is a Florida corporation with a principal place of business in Palm

Beach Gardens, Florida. Agilis supplies employees who worked on projects for P&W on an

outsource basis. Agilis competes with P&W as well as the other Supplier Defendants to recruit

and hire engineers. Agilis also competes with other Supplier Defendants for outsource work from

P&W and does so on the basis of, among other things, price.

        31.    Defendants’ actions described herein are part of, and in furtherance of, the unlawful

conduct alleged. These actions were authorized, ordered, and/or undertaken by Defendants’ various

officers, agents, employees, or other representatives while actively engaged in the management of

Defendants’ affairs (or that of their predecessors-in-interest) within the course and scope of their

duties and employment, and/or with Defendants’ actual and/or apparent authority.

        32.    Various persons, partnerships, sole proprietors, firms, corporations, and individuals

not named as defendants in this lawsuit, the identities of which are presently unknown, have

participated as co-conspirators with Defendants in the offenses alleged in this Complaint and have

performed acts and made statements in furtherance of the No-Poach Agreement and other

anticompetitive conduct.

        33.    When this Complaint refers to any act, deed, or transaction of any corporation or

limited liability entity, the allegation means that the corporation or limited liability entity acted by

or through its officers, directors, agents, employees, or representatives while they were actively

engaged in the management, direction, or of the corporation’s or limited liability entity’sbusiness.

        FACTUAL ALLEGATIONS

        A.     Trade and Commerce

        34.   During the Class Period (defined Below), Defendants employed members of the

Proposed Class in Connecticut, Vermont, Massachusetts, Illinois, Ohio, Georgia, Florida, Puerto

                                                  9
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 10 of 41



Rico, Kentucky, and throughout the United States.

          35.     The No-Poach Agreement has substantially affected interstate commerce and has

 caused antitrust injury throughout the United States.

          B.      The Market for Aerospace Engineering Services in the United States

          36.     The No-Poach Agreement is per se illegal under the federal antitrust laws, and thus,

 there is no requirement to define the relevant product or geographic markets. As the DOJ made

 clear in guidance it issued in 2016: “Naked wage-fixing or no-poaching agreements among

 employers, whether entered into directly or through a third-party intermediary, are per se illegal

 under the antitrust laws.” 3 But, to the extent a relevant market need be defined for any reason, it is

 for the services of aerospace engineers in the United States and its territories.

          37.     Aerospace Engineers design primarily aircraft, spacecraft, satellites, and missiles.

 As a result, such Engineers may find employment in industries whose workers design or build

 aircraft, missiles, systems for national defense, or spacecraft, primarily in manufacturing, analysis

 and design, and research and development.

          38.     There were approximately 60,000 aerospace engineers employed in 2020, and about

 4,000 openings for aerospace engineers are projected each year, on average, over the decade.

          39.     Engineers in the aerospace industry may be employed directly by companies that

 design and manufacture aircraft, spacecraft, satellites, and missiles (“Aerospace Firms”). They may

 also be employed by outsource engineering supply companies – Suppliers – who enter agreements

 with Aerospace Companies to complete a particular project, often referred to as a Statement of

 Work. When brought on to complete an outsource work project, a Supplier assigns Engineers from

 among its own employees to complete that project and the Supplier collects an agreed-upon



 3
     Dep’t of Justice Antitrust Div. and Fed. Trade Comm’n, supra note 1 at 3.

                                                   10
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 11 of 41



payment from the given Aerospace Firm.

       40.      In this labor market for aerospace engineering services, Aerospace Firms and

Suppliers, including Defendants, are buyers, and Engineers, including Plaintiffs and the members

of the Class, are sellers. In short, Aerospace Firms and Suppliers pay compensation to Engineers

for the Engineers’ services.

       41.      Defendants natural business would be to compete with one another to recruit and

                hire Engineers.

       42.      Suppliers compete with one another for outsource work projects from Aerospace

Firms, including on the basis of price. Labor costs for the Engineers employed by Suppliers form

one of the largest parts of the ultimate price that is quoted to Aerospace Firms.

       43.      Engineers have highly specialized skills. Engineers graduate from undergraduate

and/or graduate engineering programs with engineering degrees—often specific to aerospace

engineering. Once in the workforce, Engineers further specialize based on the work they do,

including specializing in a category (e.g., software/systems engineers, mechanical engineers,

structural analysts), and within those categories, specific to particular functions (e.g., specializing

in aerodynamic fluid flow; structural design; guidance, navigation and control; instrumentation

and communication; and propulsion and combustion). The aerospace application of these

categories and functions is particular to aerospace engineering services and not directly

transferable to other engineering fields.

       44.      Because of the significant training and experience required to perform aerospace

engineering services, Engineers would not turn to other engineering employment opportunities if

a hypothetical monopsonist imposed a small but significant non-transitory decrease in

compensation.



                                                  11
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 12 of 41



        45.        Furthermore, as set forth herein, as Engineers become further specialized, their

skills both increase in value due to the scarcity of experienced aerospace engineers in each

specialty and increase in particular value to firms working on projects that Engineers’

specializations are focused on.

        46.        The relevant geographic market for the relevant market is the United States and

its territories.

        47.        Engineers in the United States and its territories do not see aerospace engineering

jobs abroad as a reasonable substitute for aerospace engineering jobs in the United States and its

territories. Such foreign positions are less desirable for numerous reasons, including, without

limitation, language barriers, visa requirements, significant costs associated with moving abroad,

and the significant distances such moves would create between the Engineers and family

members. Although foreign Engineers have immigrated to the United States to participate in the

relevant market, on information and belief, Engineers in the United States do not frequently take

positions in the relevant market outside of the United States.

        C.         Defendants have Market Power in the Relevant Market

        48.        Defendants have the ability, collectively, to profitably suppress compensation to

Engineers. That is, Defendants can impose a small but significant decrease in pay or

compensation without losing sufficient numbers of Engineers to defeat the effects of the pay

decrease. Likewise, Defendants can maintain pay below a competitive level without losing

sufficient numbers of Engineers to defeat the effects of the pay decrease.

        49.        Thus, Defendants’ demonstrated ability to profitably suppress compensation is

evidence of Defendants’ collective market power in the relevant market described above.




                                                   12
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 13 of 41



       D.      Competition for Engineers in the Absence of a No-Poach Agreement

       50.     In a properly functioning and lawfully competitive labor market, and but for the

unlawful No-Poach Agreement, Defendants would aggressively compete for Engineers by

recruiting and hiring from each other. Because experienced Engineers are critical to Defendants’

ability to compete for and complete projects, in the absence of the No-Poach Agreement,

Defendants would compete with each other for the services of skilled Engineers.

       51.     Active lateral recruiting is important in properly functioning labor markets, in part

because companies value satisfied employees who are good at their jobs, leading them to

perceive a rival company’s current employees as more qualified, harder working, and more stable

than candidates who are unemployed or actively seeking employment outside their current jobs.

Thus, a company seeking to hire a new employee will lessen the risks associated with that hire by

seeking to hire a rival’s employee.

       52.     Competition for Engineers via recruiting and lateral hiring has a significant

impact on Engineers’ mobility and compensation in several ways.

       53.     First, when companies employing Engineers become aware of attractive outside

opportunities for their Engineers, the threat of losing these employees to a competitor encourages

an employer to preemptively increase compensation to increase morale and competitive

positioning and ultimately to retain valuable labor. If certain employers do not react to

competition, their Engineers may be receptive to recruiting by a rival employer or seek positions

that offer more generous compensation and benefits elsewhere.

       54.     Once an Engineer has received an offer from a rival employer, retaining that

employee may require a disruptive increase in compensation for one individual. Increasing

information and compensation for one person will have more widespread salary effects across a

company and market. One such mechanism for this widespread effect is salary discovery, in
                                                13
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 14 of 41



which information about competing salaries causes higher compensation even among those

employees not actively looking to switch employers. Another such mechanism is “internal

equity” within organizations, where employers endeavor to maintain parity in pay levels across

employees within the same categories, as well as maintain certain compensation relationships

among employees across different job categories.

        55.     In a market untainted by their anticompetitive coordination, Defendants would

have had an incentive to preempt lateral departures by paying their Engineers well enough that

they would become less likely to seek or pursue outside opportunities. Preemptive retention

measures would therefore have led to increased compensation for all Engineers.

        56.     Second, the availability of desirable positions at competing employers forces

employers to increase compensation to retain Engineers who are likely to join a competitor. This

can occur both when a particular Engineer or group of Engineers becomes interested in switching

employers and the current employer responds by offering a compensation increase to retain them,

or when an employer responds to overall attrition rates among its Engineers by increasing

compensation levels. In the former scenario, even a targeted increase designed to retain specific

Engineers will put upward pressure on the entire organization’s compensation structure. This

natural labor dynamic is precluded in the presence of a No-poach agreement.

        57.     The positive compensation effects of hiring Engineers from competitors are not

limited to the particular individuals who seek new employment or to the particular individuals

who would have pursued new positions but for a No-Poach Agreement. Instead, the effects of a

restraint in the labor market as a result of a No-Poach Agreement (and the effects of suppressing

recruiting and hiring pursuant to a No-Poach Agreement) commonly impact all individuals in

positions subject to the restraint.



                                               14
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 15 of 41



       58.     Conversely, suppression of competition for cross-hiring and recruitment serves as

a drag on compensation that permeates throughout an organization. Here, the No-Poach

Agreement enabled Defendants to target the impact of their coordination on the employees most

likely to command disruptive increases that, through processes of internal equity and salary

discovery, would have led to increases that would have benefited all their employees.

       59.     Thus, while Defendants obtain significant advantages by engaging in lateral

hiring among them, the competition also inflicts a cost on the other Defendant by taking away a

valuable employee and raising pay for Engineers across the companies. Consequently, by

agreeing not to compete, Defendants were able to minimize these costs to the detriment of

Plaintiff and members of the proposed Class.

       E.      The No-Poach Agreement

       60.     Beginning at least as early as 2011 and continuing until as late as September 2019,

Defendants, through their officers, directors, agents, employees, or representatives, agreed not to

compete for each other’s Engineers in the aerospace industry working on projects for P&W,

specifically by agreeing to restrict the hiring and recruiting of Engineers between and among

Suppliers in the United States (the “No-Poach Agreement”).

       61.     P&W served as a leader and primary enforcer of the No-Poach Agreement and did

so through Mahesh Patel – a manager and later the director of the unit within P&W in charge of

managing relationships with Suppliers.

       62.     The No-Poach agreement manifested itself in interwoven and overlapping hiring

and recruiting restrictions, all of which had the common purpose of limiting competition for, and

thereby restricting the free movement of, Engineers within the aerospace engineering industry.

The No-Poach Agreement thus artificially extended Engineers’ length of work at a given employer

and reduced or eliminated their ability to advocate and obtain better terms of employment,
                                                15
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 16 of 41



including compensation, at current and future employers.

       63.     The hiring and recruiting restrictions that make up the No-Poach Agreement were

shaped by Defendants’ shared financial motivations, specifically a desire to suppress wages and

thereby lessen labor costs.

       64.     Certain of the recruiting and hiring restrictions that make up the No-Poach

agreement are outlined below.

               1. Restricting Hiring and Recruiting Between Suppliers

       65.     As part of and to effectuate the No-Poach Agreement, the Supplier Defendants –

through their officers, directors, agents, employees, or representatives – agreed not to recruit and

hire one another’s Engineers, and P&W – through Patel – acted as a leader and chief enforcer of

this restriction on recruiting and hiring. P&W’s enforcement of this agreement was effective, in

part, due to P&W’s position as the Suppliers’ common customer.

       66.     Beginning as early as 2011, certain Suppliers who provided Engineers to P&W

entered into agreements that they would restrict the hiring and recruiting of Engineers between

and among them.

       67.     P&W’s involvement in this anticompetitive scheme began at around or about the

same time period, with Patel taking an active role in the conspiracy.

                        a. Defendants instructed one another to adhere to the restrictions on
                           recruiting and hiring and expressly tied this to the goal of
                           compensation suppression.

       68.     Patel instructed managers and executives at Suppliers that P&W’s Suppliers

should not be recruiting and hiring one another’s Engineers.

       69.     The Suppliers understood that these restrictions applied mutually among the

Suppliers themselves.



                                                 16
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 17 of 41



       70.     Patel made these communications with each of the Suppliers directly,

communicating the restriction and that other Suppliers were observing it as well.

       71.     For example, in 2016, Patel emailed Prus, the Chief Operating Officer, Executive

Vice President and part owner of PSI. He stated: “Last time we talked you assured me that you

will not hire any [P&W] partners employee [sic]. This must stop, otherwise others will also start

poaching your employees.” DOJ Affidavit ¶ 29.

       72.     Patel also discussed these restrictions on Suppliers’ recruiting and hiring when

multiple Suppliers were present.

       73.     For example, in December 2015, P&W hosted a dinner that was attended by Patel

and representatives from Suppliers for P&W, including QuEST, Belcan, and Cyient. These

representatives included individuals at senior and powerful levels of these companies, such as

Tom Edwards (the President of the North America Operations for Cyient), Harpreet Wasan (the

Vice President/Strategic Client Partner for QuEST), and a General Manager for QuEST. An

executive of Belcan, who also attended the dinner, sent an email to Houghtaling and other Belcan

employees to summarize statements made by Patel at the dinner. The email states “Mahesh did

take the stage at the end ... no poaching of each others’ [sic] employees.” Indictment ¶ 22(a). This

was apparently a reference to instructions not to poach each other’s employees.

       74.     Suppliers also communicated directly with one another to confirm their agreement

with and mutual adherence to the restrictions on recruiting and hiring.

       75.     In or around December 2017, a Vice President from QuEST emailed Houghtaling

complaining about Belcan’s reported employment offers to two QuEST employees in Illinois and

stated, “I would like to understand if you are planning to address this immediately, or I will be

forced to escalate to our mutual customers.” Harvey responded: “Spot on. This cannot be tolerated!

We need to move quickly and forcibly when this is about to happen.” Later, he added, speaking to
                                                 17
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 18 of 41



QuEST’s management and executive team: “Push hard to have it reversed and consequences for

[Belcan].” Indictment ¶ 28(f).

       76.     In a September 2019, after Agilis had hired four Cyient employees, Edwards, the

President for Cyient’s North America Operations, reached out to the Founder, President, and

Chief Executive Officer of Agilis, and asked him to stop “actively recruiting” Cyient’s employees.

DOJ Affidavit ¶ 34; Indictment ¶ 27(a). Edwards stated, “I wanted to ask if your team could refrain

from actively recruiting our employees going forward,” and assured the CEO of Agilis that “I flat

out ask our teams not to hire people from the other [Company A] suppliers.”Indictment ¶ 27(a).

Agilis’ CEO agreed, telling Edwards that Agilis’ “general aim is NOT to recruit from the local

‘competition’ because no one wins; salaries rise, the workforce get unstable, and our margins all

get hurt.” Id. In response, Cyient’s head of North America Operations thanked Agilis’ CEO and

noted “I flat out ask our teams not to hire people from the other [P&W] suppliers.” DOJ Affidavit

¶ 34; Indictment ¶ 27(a).

                       b. Defendants had a common interest in suppressing labor costs.

       77.     Throughout the operations of the Suppliers’ restrictions on recruiting and hiring,

representatives from Defendants justified these actions by appealing to their effects in

suppressing wages for Engineers and the benefits this would accrue to Defendants.

       78.     This reasoning was articulated in communications between Patel and representatives

of the Suppliers, as well as between representatives of the Suppliers directly.

       79.     For example, in January 2017, Patel contacted a representative of PSI after it had

hired an employee of Cyient and instructed: “Please do not hire any partners employee, whether

they approached or you approached. That is the only way we can pre[v]ent poaching and price

war.” Id. ¶ 24; Indictment ¶ 27(b).



                                                 18
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 19 of 41



       80.     That January 2017 email was subsequently shared with Chief Operating Officer,

Executive Vice President and part owner of PSI. And in March of 2017, that individual discussed

P&W’s hiring restrictions with an executive of another Supplier, noting that “MAHESH says he

does not want the salaries to increase.” DOJ Affidavit ¶ 24.

       81.     Likewise, in April of 2017, a General Manager from QuEST sent an email warning

that Cyient had hired an Engineer who was employed with QuEST, noting that “[t]his is against

our agreements with our employees and against our known expectations of [P&W] for the

cooperation of the outsource companies” and complaining that if such hiring does not stop, it will

“drive the price structure up.” Id. ¶ 25; Indictment ¶ 27(c). Patel subsequently reached out to the

executives of the two Suppliers involved – the General Manager from QuEST and the President

of North America Operations from Cyient – and marked them as “required” attendees on an

invitation for a “private discussion” in his office the next day. DOJ Affidavit ¶ 25.

                       c. P&W policed and enforced the No-Poach Agreement on behalf of
                          Defendants.

       82.     P&W, through Patel, repeatedly acted as an intermediary between the Supplier

Defendants to police and enforce the agreement restricting their recruiting and hiring, including

by directly reprimanding Suppliers who attempted to solicit or hire other Suppliers’ employees in

violation of the agreement.

       83.     Patel often acted in response to requests from Suppliers, who would alert Patel to

infractions of the agreement and ask that he assist in preventing or deterring such violations.

       84.     As an example, in May 2016, Houghtaling was informed by a colleague that

“[a]nother employee” had been hired by PSI to work on an outsourcing project for a company

other than P&W. Id. ¶ 27. The colleague asked Houghtaling if he “ever discuss[ed] the last one

with Mahesh.” Id. Houghtaling assured the colleague that he had spoken to Patel and that Patel


                                                 19
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 20 of 41



“said he’d talk to [PSI] about it.” Id. Houghtaling subsequently emailed Patel to complain that his

company was “losing another employee to [PSI],” and named the employee. Id.; Indictment ¶

22(c).

         85.   A few months later, a similar communication occurred in the opposite direction.

In November 2016, Prus, Executive Vice President and part owner of PSI, wrote an email to

Patel complaining about Belcan “actively recruiting [PSI] employees.” DOJ Affidavit ¶ 27;

Indictment ¶¶ 22(d), 28(g). Patel forwarded that email to Prus and another manager from the

company, saying, “[w]e must not poach each other partners employee. Please communicate to

[Belcan] HR not to interview or hire active employees working on [P&W] work.” DOJ Affidavit

¶ 27; Indictment ¶ 22(d).

         86.   As another example, in a February 2017 email, Wasan, the Vice

President/Strategic Client Partner for QuEST, responded to the news that Belcan had made an

employment offer to a QuEST engineer by stating: Belcan “is not allowed to poach any of our

employees and I will plan to block this immediately. I will send this to Mahesh today.” DOJ

Affidavit ¶ 28; Indictment ¶ 22(b). Approximately four minutes later Wasan forwarded the

information about Belcan’s offer directly to Patel, adding “I am very concerned that [Belcan]

believes they can hire any of our employees. …. Could you please stop this person from being

hired by [Belcan]?” DOJ Affidavit ¶ 28; Indictment ¶ 22(b). Managing communications with

Patel upon learning of other Suppliers’ violations of the agreement were a specific responsibility

of Hasan at QuEST. DOJ Affidavit ¶ 28.

         87.   Further, in January 2017, a representative from Cyient emailed Patel to inform him

that PSI had hired a Cyient Engineer and Patel forwarded this email to the Executive Vice

President and part owner of PSI. Patel wrote: “Last time we talked you assured me that you will

not hire any [P&W] partners employee. This must stop, otherwise others will also start poaching
                                                20
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 21 of 41



your employees. Please advise.” DOJ Affidavit ¶ 29; Indictment ¶ 25(b).

       88.     Patel’s enforcement of the agreement on behalf of the Suppliers was effective in

ensuring that the Suppliers adhered to the terms of the agreement.

       89.     For example, after a Belcan executive notified Patel that PSI was recruiting and

hiring Engineers in violation of the agreement, Patel sent an email to Prus, the Executive Vice

President and part owner of PSI. Referencing Belcan, Patel wrote: “You had assured me that [PSI]

will never soliciting [P&W’s] long term partners employees . . . Please send me in writing that

proper steps has taken place to curtail this practice.” DOJ Affidavit ¶ 31; Indictment ¶ 28(e). In a

later email, the Executive Vice President and part owner of PSI indicated that he understood

Belcan was the source of this complaint, writing that Belcan “is making a big stink right now over

any solicitations.” DOJ Affidavit ¶ 31. Prus subsequently instructed another employee of PSI to

“[p]lease stop speaking to any [Belcan] or other [P&W] supplier companies about transitioning

to [a PSI] Office immediately.” DOJ Affidavit ¶ 31; Indictment ¶ 28(e).

       90.     P&W also exercised its authority as a customer of the Suppliers in order to ensure

they followed the prohibition from recruiting and hiring one another’s Engineers.

       91.     As an example, in June 2018, Patel reached out to executives from Belcan

concerning a recent effort to hire an Engineer at QuEST. Patel had learned of these plans from

individuals at QuEST. A recruiter at Belcan explained in an internal email, eventually forwarded

to Belcan managers and executives, that QuEST “complained to [P&W] that we are ‘stealing’

their people, and [P&W] threatened to pull all POs from [Belcan] if we hire him.” DOJ Affidavit

¶ 33. A day later, Houghtaling emailed Patel and said: “Per our conversation yesterday, this

email is to confirm that we have rescinded the offer letter for” the Engineer at issue. Id.;

Indictment ¶ 26.



                                                 21
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 22 of 41



                       d. P&W enforced the No-Poach Agreement despite warnings that
                          this conduct was unlawful.

        92.     At least as early as January 2016, well before several of the examples of unlawful

conduct described herein, certain managers and executives at Belcan began raising concerns with

Patel that the conduct of P&W and the Suppliers was unlawful, specifically because they violated

the antitrust laws.

        93.     Early in January 2016, a General Manager for Belcan received an email describing

a civil lawsuit in which several major companies were accused of (as the Belcan employee

forwarding the email put it) “engaging in illegal anti-poaching agreements……the companies

involved had promised each other not to actively recruit employees from one another.” DOJ

Affidavit ¶ 35. The General Manager subsequently planned a meeting with Patel in which one of

the items for discussion was “[i]nformal poaching agreement between outsource suppliers. Recent

Apple lawsuit because these agreements are illegal” (an apparent reference to the 2015 settlement

in In re High-Tech Employee Antitrust Litigation, No. 5:11-cv-2509 (N.D. Cal.)). Id. ¶ 36.

        94.     The same General Manager raised the unlawful nature of the restrictions on

recruiting and hiring with Patel again in February 2017. In a series of emails, Belcan’s Human

Resources Director and the General Manager discussed an upcoming call with Patel, which was

planned concerning a recent allegation that Belcan had hired an Engineer from QuEST in

violation of the No-Poach Agreement. The HR Director noted her concern that “there is an anti-

trust issue by us turning people away solely based on their previous employer.” Id. ¶ 37. The

General Manager acknowledged these concerns about illegality in a subsequent email to the HR

Director, noting “[P&W] (Mahesh Patel) is asking (insisting) that we not interview anyone

currently employed by our competitors . . . I’m not sure if this is legal, but that is what they are




                                                  22
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 23 of 41



requesting we do.” Id. The next day, Belcan’s HR Director reported that she and another Belcan

manager “spoke with Mahesh this afternoon. He understands our concern with antitrust

compliance, however, he still requested that our recruiters not speak with applicants who are

current[ly] employed with [Belcan] competitors.” Id. Two weeks later, one of the individuals who

was included on these email threads sent an email to the Belcan HR Director, the General

Manager, and the Vice President of Human Resources. The sole content of the email was a link

to a website that described a class action antitrust lawsuit concerning a “conspiracy” between

companies who had agreed to “restrict[] recruiting of each other’s employees.” Id. ¶ 38.

               2. Restricting Hiring and Recruiting Between P&W and QuEST

       95.     As part of and to effectuate the No-Poach Agreement, P&W and QuEST agreed to

restrict P&W’s hiring and recruiting of Engineers from QuEST. P&W and QuEST did so through

two primary means: 1) setting a two-year tenure restriction for any QuEST Engineers hired by

P&W, and 2) instituting periodic hiring freezes, in which P&W would not make any hires of

QuEST Engineers.

                      a. The Two-Year Tenure Restriction

       96.     In 2011, Harvey, a QuEST executive – who has served as Senior Vice President,

President-Strategic Accounts, and President-Global Business Head during his time at QuEST –

began pushing Patel to enter an agreement in which P&W would wait to hire QuEST’s

employees until they had worked at QuEST for a specified length of time.




                                               23
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 24 of 41



       97.     In September of that year, Harvey, along with another QuEST employee, attended

a dinner with Patel and a P&W Vice President to whom Patel directly reported. The objectives of

the dinner included a discussion of the QuEST executive’s proposal. Indictment ¶ 24(a).

       98.     The day following that dinner, Harvey executive sent an email to the attendees,

stating: “We truly appreciate and value our strategic relationship. I thought I would take the

lead in summarizing what we discussed last night and proposed next steps . . .” DOJ Affidavit ¶

42. The first item on the list was “Personnel Transfers” (in quotations in the original email). Id.

The QuEST executive described this as “the new policy/guidelines” that the P&W Vice

President had reviewed at the dinner, which set a “min. 24 months” period for such “Personnel

Transfers.” Id. The QuEST executive further indicated that Patel had advised that he limit the

written record on this agreement, noting that, “[f]ollowing Mahesh’s previous counsel, [he

would] not go[] into detail in writing on this subject.” Id.; Indictment ¶ 24(a).

       99.    Subsequently, starting in late 2011, managers and executives from QuEST would

routinely communicate with Patel and others in his outsourcing management group at P&W

concerning this agreement. Specifically, these managers and executives worked to reconfirm,

maintain, and enforce this agreement and to block or attempt to block P&W’s recruiting and

hiring of those QuEST employees covered by the agreement.

       100.    For example, in October 2012, one QuEST employee wrote to Patel concerning

an employee about whom Patel had inquired, stating: “[Employee’s] tenure at [QuEST] dates to

May 2011. Based on our agreement of two year minimum tenure, we would ask that [P&W] not

pursue employment of [him] at this time.” DOJ Affidavit ¶ 44.

       101.    Similarly, in June 2015, Patel emailed managers from QuEST, stating that P&W

“is interested in interviewing and hiring” two QuEST Engineers and asking that QuEST “[p]lease

provide your concurrence.” Id. ¶ 45. One of the QuEST managers responded that, whileone of
                                                 24
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 25 of 41



the Engineers had worked at QuEST for four and a half years and “meets requirements,” the other

“only has 8 months and does not meet obligation, so [QuEST] cannot provideconcurrence.” Id.

       102.    As another example, in April 2017, two QuEST managers, discussing a P&W

request to hire a certain QuEST Engineer, noted in an internal email that this employee “wouldn’t

meet our requirements for two years.” Id. ¶ 46. Two days later, one of these managers emailed

Patel to inform him that the employee “does not meet tenure requirements.” Id. Patel in turn told

a P&W HR employee: QuEST “Will not release him . . . He has not completed 2[y]ears as our

verbal agreements.” Id.; Indictment ¶ 24(b).

                      b. The Hiring Freezes

       103.    In furtherance of the conspiracy, representatives of QuEST and Patel also agreed

upon periodic freezes of P&W’s recruiting and hiring of any QuEST employees, with limited

exceptions.

       104.    These hiring freezes took place from approximately 2015 through 2017 and ranged

from several months to nearly an entire year in 2016. Each began when QuEST managers and

executives petitioned Patel to limit or stop hiring from QuEST.

       105.    For example, in September 2015, following a request by Patel for QuEST’s

“concurrence” in P&W’s hiring of two QuEST Engineers, one of the QuEST executives responded

with a lengthy complaint concerning the frequency of P&W’s hiring of Engineers from QuEST.

The QuEST executive noted that, while both of the employees in question “have at least two years

[QuEST] experience, so [they] meet the ‘handshake agreement’ level,” he stated:“[QuEST] will

not be able to concur with any more hiring of [QuEST] employees this year. . . . All we can do is

highlight the problem and ask that [P&W] support us going forward to prevent further hiring of

our resources.” DOJ Affidavit ¶ 48. Another QuEST executive responded to this email and added,

addressing Patel directly, “Mahesh, we truly need your help in blocking these two hires and putting
                                                25
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 26 of 41



a moratorium on [QuEST] hires for the remainder of the year.” Id.

       106.    In a further example, in January 2016, Wasan, QuEST’s Vice President/Strategic

Client Partner, reported to its Chief Engineer/Account Manager and another colleague that “I am

planning to meet with Mahesh later this week to discuss the hiring matrix I developed to limit the

hiring. Also I am going to tell him that he needs to block” two QuEST Engineers “from being

hired until we come to an agreement on the acceptable limit to hire [from] our team.” Id. ¶ 49. On

information and belief, this meeting led to Patel and the QuEST executives establishing a new

hiring freeze for 2016. Indictment ¶ 23(a). Indeed, in or around July 2016, Wasan sent an email to

Patel regarding a QuEST employee that P&W was interested in hiring, writing “we cannot lose

him” and complaining that “P&W keeps poaching this team.” Patel then emailed a P&W hiring

contact and explained: “I checked with [QuEST], they absolutely do not want to release [the

employee]. Please do not extend offer to him. [P&W] has committed to [QuEST] that we will not

hire any more of their employees this year in 2016.” Patel sent the correspondence to Wasan, and

Wasan thanked Patel. Indictment ¶ 23(b).

       107.    After reaching agreement with QuEST executives, Patel would announce the

beginning of hiring freezes to P&W personnel involved in recruiting and hiring Engineers for

P&W and instruct that these freezes be respected. As an example, in early 2017, Patel emailed the

Vice President of HR-Engineering for P&W and requested that she “direct your HR team notto

hire [QuEST] outsource resources currently deployed on [P&W] projects till end of this year. .

. . [QuEST] senior leadership including CEO has repeatedly raised concerns on [P&W] hiring

[QuEST] employees. We will lift [QuEST] hiring restriction from Jan 1, 2018.” DOJ Affidavit ¶

50; Indictment ¶ 25(a).

                      c. P&W and QuEST share a common interest in suppressing labor
                         costs

                                               26
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 27 of 41




       108.    The agreement between P&W and QuEST to limit the recruiting and hiring of

QuEST Engineers served the common interest of both Defendants by alleviating upward pressure

on labor costs to both companies. Specifically, by agreeing to restrict P&W’s recruiting and hiring

from QuEST, QuEST was able to keep its labor costs down and likewise maintain the low prices

that it offered to P&W for its outsourcing projects. Were QuEST to contend with the higher wages

and recruiting for Engineers offered by P&W absent the agreement, QuEST would face increased

pressure to compete with P&W on wages, benefits, and professional opportunities and an ensuing

need to hike prices for its P&W projects.

       109.    Representatives from QuEST explicitly called out the shared benefits to the

limitations on recruiting and hiring in their efforts to push P&W to agree to hiring freezes.

Specifically, QuEST appealed to the financial benefits that would accrue to both QuEST and P&W

if P&W ceased recruiting and hiring QuEST Engineers, including by resisting wage increases.

       110.    For example, in June 2017, Harvey, President of QuEST, forwarded a business

proposal to P&W and noted that this proposal provided “a partnership approach on how we can

minimize bill rate increases necessary to hire and retain resources needed to provide the desired

services to” Raytheon Technologies Corporation, P&W’s parent company. DOJ Affidavit ¶ 52.

The attached presentation explicitly promoted and proposed further hiring restrictions for P&W

of QuEST Engineers, noting that “[w]e have found that customer hiring of our resources puts

pressure on [QuEST’s] and our customers’ ability to contain labor cost increases in our joint

‘ecosystem’ over time.” Id.; Indictment ¶ 27(d).




                                                27
           Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 28 of 41



               3. PSI’s use and enforcement of non-compete agreements

       111.    PSI reinforced and enhanced the effects of the No-Poach Agreement through the

aggressive use and enforcement of non-compete agreements that PSI coerced its Engineers to

execute.

       112.    On information and belief, beginning in at least 2011 and continuing until at least

2020, PSI insisted that Engineers commencing employment sign a non-compete agreement that

would take effect in the event the employee left PSI’s employ.

       113.    This non-compete agreement purported to restrict employees’ mobility after

leaving PSI by prohibiting such employees from gaining employment for two years following

departure from any company that PSI did business with in the two years prior to departure. PSI

also included a list of employers for which employees could not work after leaving PSI during

the two-year term of the non-compete agreement.

       114.    When an employee gave PSI notice that the employee was leaving the company,

PSI would demand to know where the employee was going to work. At that time, PSI typically

provided the departing employee with a list of employers for which the employee was

purportedly prohibited from working. This list was broad in scope and changed over time. PSI

then threatened legal action if the employee began working for one of the companies on the list.

Upon information and belief, Defendants were not on the list, indicating that there was no need

for their inclusion because the No-Poach Agreement prevented Engineers from leaving PSI for

Defendants’ employment anyway.

       115.    PSI’s threats were not illusory. On information and belief, PSI contacted the

employers of former PSI Engineers to threaten the employers with lawsuits if the employee was

terminated.



                                                28
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 29 of 41



       116.    PSI’s aggressive use and enforcement of its broad non-compete agreement had

synergistic effects with the core components of the No-Poach Agreement because it expanded the

scope of companies to which PSI’s Engineers could not turn for alternative employment and

enabled PSI to further suppress Engineers’ compensation without fear of Engineers defecting for

rival engineering firms.

       F.      The Structure of the Market for Aerospace Engineers

       117.    In addition to the extensive direct evidence of the No-Poach Agreement set out

above, the market for aerospace Engineers is characterized by plus factors that render the industry

susceptible to collusion and bolster the plausibility of the No-Poach Agreement alleged herein.

These include (1) numerous opportunities to collude; (2) high entry barriers for Aerospace Firms

and Suppliers; (3) high exit barriers for Engineers; and (4) inelastic demand forand a lack of

substitutes for aerospace Engineers.

       118.    First, P&W worked closely with the Defendant Suppliers in connection with the

outsourcing project work, which gave rise to multiple opportunities for collusion.

       119.    P&W maintained long standing working relationships with the Supplier

Defendants in this case.

       120.    P&W executives like Patel visited Suppliers’ offices with regularity.

       121.    P&W also regularly monitored and communicated with Defendants about their

overall success as Suppliers, including their productivity and ability to offer cost savings to

P&W.

       122.    As part of this effort, P&W issued awards that it presented to its most valued

Suppliers, recognizing accomplishments in areas such as innovation and productivity. The

Defendant Suppliers were frequent recipients of these awards, and Patel was directly involved in

the presentations of these awards to the Suppliers.

                                                29
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 30 of 41




       123.     For example, in 2017, Belcan received the P&W Supplier Productivity Innovation

Award. Belcan issued a press release in connection with this award, noting that this was the sixth

award that Belcan received from P&W since 2010 and that the award was a testament to Belcan’s

highly valued contributions to P&W’s success and the two companies’ “enduring relationship.”

Patel spoke at the award ceremony and lauded “Belcan’s commitment to driving change and

continuously delivering better solutions to [P&W] through value added innovations . . . while

allowing [P&W] to maintain its competitive edge in the marketplace.”




               Executives of Belcan and P&W, including Mahesh Patel, at the 2017
               awards ceremony.
        124.    As another example, P&W awarded Cyient with two Supplier awards for 2019.

 Cyient won the Supplier Innovation Award for the seventh consecutive year and the Supplier

 Highest Productivity Award for the fourth year in a row. Cyient issued a press release

 announcing these awards and noted that they “recognized Cyient’s continued commitment to

 delivering unparalleled productivity and cost savings” including “multi-million dollars in cost

 savings that were realized through several supplier saving proposals.”

                                                30
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 31 of 41




                Executives of Cyient and P&W, including Mahesh Patel, at the 2019
                                         awards ceremony

       125.    As discussed above, the market for aerospace Engineers is characterized by high

entry barriers for employers. For Aerospace Firms to compete, they must develop desirable and

proprietary products and technologies that commercial and governmental entities are willing to

purchase. Without those products, Aerospace Firms have no need for Engineers’ labor. Without

their own products, Suppliers make up the rest of the market for purchasing Engineers’ services.

Suppliers likewise have high entry barriers, including, without limitation difficulties in

establishing industry trust (of Aerospace Companies) and recognition, as well as difficulties in

recruiting and retaining Engineers with requisite expertise.

       126.    There are high exit barriers for Engineers. To enter the market, Engineers make

substantial investments of time and money in the education, training, and experience that is

required to obtain the highly specialized skills necessary to perform this work. Engineers graduate

from undergraduate and/or graduate engineering programs with engineering degrees— often

specific to aerospace engineering. Once in the workforce, Engineers further specialize based on

the work they do, including specializing in a category (e.g., software/systems engineers,
                                           31
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 32 of 41



mechanical engineers, structural analysts), and within those categories, specific to particular

functions (e.g., specializing in aerodynamic fluid flow; structural design; guidance, navigation

and control; instrumentation and communication; propulsion and combustion). The aerospace

application of these categories and functions is particular to aerospace engineering services and

not directly transferable to other engineering fields.

        127.    As discussed above, demand for aerospace Engineers is relatively inelastic. Over

the past decade, about 4,000 openings for aerospace engineers have been projected each year. As

described above, aerospace Engineers have obtained highly specialized skills that are required to

perform work in the industry and their services generally cannot be substituted by Engineers from

different industries.

        G.      Anticompetitive Effects and Injury Suffered by Class Members from
                Defendants’ Illegal Conspiracy

        128.    The No-Poach Agreement challenged herein has impaired Engineers’ mobility

and suppressed their compensation below competitive levels.

        129.    This anticompetitive agreement to impair Engineers’ mobility and suppress their

compensation included restrictions on recruiting and hiring among the Supplier Defendants and

P&W. This has had significant anticompetitive effects with no countervailing procompetitive

benefits.

        130.    The No-Poach Agreement suppresses wages for Engineers by restricting the

availability of attractive outside opportunities for their Engineers. In a competitive market, the

threat of losing employees to a competitor would encourage Defendants to raise wages – either

preemptively, in response to direct offers from rival employers, or as a reactive response to retain

employees (whether specific or general) – in order to increase morale and competitive positioning

and ultimately to retain valuable labor. Such competition is absent due to the No-Poach

                                                 32
           Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 33 of 41



Agreement.

        131.    The positive compensation effects of hiring Engineers from competitors are not

limited to the particular individuals who seek new employment or to the particular individuals who

would have pursued new positions but for the No-Poach Agreement. Instead, the effects of a“no-

poach” restraint in the labor market for aerospace workers commonly impact all individuals in

positions subject to the restraint.

        132.    In accord with basic economics, the Sherman Anti-Trust Act, and anti-trust laws,

the No-Poach Agreement here artificially reduced the compensation of all Engineers below

levels that would have prevailed in its absence.

        133.    Plaintiffs and all other members of the Class were harmed by the No-Poach

Agreement alleged herein. Defendants’ unlawful No-Poach Agreements restrained competition

in the market for aerospace engineering services, which had the effect of suppressing

compensation and mobility for all members of the Class. Thus, Plaintiffs and the members of the

Class suffered anti-trust injury.

        134.    Without this class action, Plaintiffs and the Classes of workers they represent

will remain unable to receive compensation for the harm they suffered, and Defendants will

continue to reap the benefits oftheir illegal conspiracy.

        135.    The unlawful No-Poach Agreement entered into by Defendants is a per se illegal

restraint on competition entered into by horizontal competitors in the market for aerospace

engineering services.

        136.    In the alternative, Defendants are liable under a “quick look” analysis where

someone with even a rudimentary understanding of economics could conclude that the

arrangement and agreement alleged would have an anticompetitive effect on Class members and

markets.
                                                   33
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 34 of 41




       137.    In the alternative, Defendants are liable under a Rule of Reason analysis because

their unlawful agreements not to hire one another’s Engineers reduced compensation and

restrained mobility and competition in the market for Engineers’ services. The unlawful No-

Poach Agreement between Defendants had no procompetitive effects and were not intended to

have procompetitive effects. In fact, the No-Poach Agreement had the explicit intent to suppress

compensation to Engineers and was successful in effectuating that intent. Such unlawful

agreement had additional anticompetitive effects, including, inter alia, eliminating competition

for skilled labor, preventing Plaintiff and members of the Class from obtaining employment and

earning compensation in a competitive market, and preventing or limiting employment

opportunities and choice with respect to such opportunities. Such anticompetitive effects

outweigh any conceivable procompetitive benefits of the conspiracy.

       H.      Defendants Concealed the No Poach Agreements from the Public and the
               Proposed Class

       138.    Defendants actively concealed their illegal No-Poach Agreement from the public

and the proposed Class. Defendants did not disclose the existence of the No-Poach Agreement to

their Engineers or to the public. Nevertheless, Defendants would monitor and enforce each other’s

compliance with the No-Poach Agreement.

       139.    The nature of the No-Poach Agreement ensures it would remain largely undetected

by Engineers and the public. Defendants entered into the No-Poach Agreement orally (the

existence of which various emails confirm), affirmatively avoiding memorializing the No- Poach

Agreement in a written agreement despite its broad application and multi-year duration, opting

instead to inform new executives about the No-Poach Agreement’s existence on a primarily oral

basis. The reason for this practice was to avoid alerting the public and the proposed Class of the


                                               34
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 35 of 41



No-Poach Agreement’s existence and, thus, to deter potential investigations, litigation, and to

perpetuate the Agreement’s illegal effects.

       140.    The federal investigator from the Defense Criminal Investigative Service (DCIS)

of the United States Department of Defense, Office of the Inspector General that wrote the

Affidavit in Support of Criminal Complaint and Arrest Warrant filed by the Department of Justice

found that, although some individuals heard rumors of the agreement, likely from the select few

direct victim-witnesses who were denied positions due to the conduct, in many instances even

victim-witnesses were unaware of the actions taken by Defendants to block job applications. Id.

¶ 54. Moreover, the far-reaching impact of the restrictions on recruiting and hiring which extends

to those Engineers who had not directly applied for employment with another one of Defendants,

ensures that the vast majority of the Class, including Plaintiff, were unaware of the No-Poach

Agreement because of Defendants’ active concealment of the agreement. As for those members

of the Class whose compensation was directly affected by the conduct without such members

actively searching for a new position with a Defendant, the No- Poach Agreement was

undiscoverable through any reasonable inquiry.

       141.    But for information made public in the DOJ Affidavit, Plaintiff would have

remained unaware that the No-Poach Agreement existed. Because of the secrecy of the No- Poach

Agreement and Defendants’ acts of concealment, Plaintiff and the Class did not and couldnot have

known before December 9, 2021, when the DOJ filed its partially unsealed criminal complaint

and arrest warrant for Mahesh Patel, that Defendants were engaged in an illegal conspiracy to

suppress Engineers’ wages by restraining recruitment and hiring of one another’s Engineers.

Further, the secrecy of the No-Poach Agreement and Defendants’ acts of concealmentwould have

thwarted any reasonable effort to discover the No-Poach Agreement before that date.



                                                35
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 36 of 41




       CLASS ACTION ALLEGATIONS

       142.    Plaintiffs brings this action on behalf of themselves and all others similarly situated

pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3). The Class is defined

as:

       All natural persons who worked at one or more of the Defendants as Engineers from
       January 2011 through such time as Defendants’ anticompetitive conduct ceased
       (“Class Period”).

       Excluded from the Class are members of Defendants’ boards of directors,
       Defendants’ senior executives who entered into and/or enforced the No-Poach
       Agreement, and any and all judges assigned to hear or adjudicate any aspect of this
       litigation and their judicial staff.

       143.    Plaintiffs do not yet know the exact size of the Class because such information is

in the exclusive control of Defendants. Based upon publicly available information, there are

thousands of Class members. Joinder of all members of the Class is therefore impracticable.

       144.    Class members are easily ascertainable based on, among other things, the

employment records of Defendants.

       145.    There are many questions of law and fact common to the Class as a whole,

including:

               (a)    Whether, when, and how Defendants entered into, operated, monitored,

       and enforced the No-Poach Agreement;

               (b)    Whether Defendants concealed the existence of the No-Poach Agreement

       from Plaintiff and the members of the Class;

               (c)    Whether Defendants’ conduct violated Section 1 of the Sherman Act;

               (d)    Whether the No-Poach Agreement is a per se violation of the Sherman Act;

               (e)    Whether the No-Poach Agreement restrained trade, commerce, or

                                                36
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 37 of 41



        competition for Engineers among the Defendants;

                (f)     Whether Plaintiffs and the Class have suffered antitrust injury; and

                (g)     the appropriate measure of damages.

        146.    These and other questions of law and fact are common to the Class and

predominate over any questions affecting only individual members of the Class.

        147.    Plaintiffs’ claims are typical of the claims of the Class members in their respective
                lines of work.

        148.    Plaintiffs will fairly and adequately represent the interests of, and have no conflicts

of interest with, the Class.

        149.    Plaintiffs have retained counsel experienced in antitrust and class action litigation

to represent themselves and the Class.

        150.    This class action is superior to the alternatives, if any, for the fair and efficient

adjudication of this controversy. Prosecution as a class action will eliminate the possibility of

repetitive litigation. There will be no material difficulty in the management of this action as a

class action. By contrast, prosecution of separate actions by individual members of the Class

would create the risk of inconsistent or varying adjudications and be inefficient and burdensome

to the parties and the Court.

                                  FIRST CLAIM FOR RELIEF
                          (Violation of the Sherman Act, 15 U.S.C. § 1)

        151.    Plaintiffs realleges and incorporate by reference each of the averments contained in

the preceding paragraphs of this Complaint.

        152.    Defendants entered into and engaged in the unlawful horizontal No-Poach

Agreement in restraint of trade and commerce, as described above, in violation of Section 1 of

the Sherman Act, 15 U.S.C. § 1. The No-Poach Agreement is a per se violation of Section 1 of

the Sherman Act.

                                                  37
            Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 38 of 41




           153.   The acts done by Defendants as part of, and in furtherance of, their agreements,

understandings, contracts, combinations, or conspiracies were authorized, ordered, or done by

their respective senior executives while actively engaged in the management of Defendants’

affairs.

           154.   Defendants collectively possess monopoly power in the relevant market.

Through their No-Poach Agreement, Defendants harmed competition in the relevant market.

           155.   The unlawful No-Poach Agreement had the following effects, among others:

                     a. Competition between Defendants for Engineers was suppressed,

                         restrained, or eliminated; and

                     b. Plaintiffs and members of the Class have received lower compensation

                         from Defendants than they otherwise would have received in the absence

                         of the No-Poach Agreement and, as a result, have been injured and have

                         suffered damages in an amount according to proof at trial.

           156.   Defendants’ No-Poach Agreement had no procompetitive benefits or

justifications. The No-Poach Agreement provided no efficiencies or other benefits that would

offset the substantial competitive harms described above.

           157.   As a direct and proximate result of Defendants’ illegal No-Poach Agreement,

members of the Class have suffered injury and have been deprived of the benefits of free and fair

competition for their labor on the merits.

           158.   Accordingly, Plaintiffs and members of the Class seek three times their damages

caused by Defendants’ violation of Section 1 of the Sherman Act, the costs of bringing suit,

reasonable attorneys’ fees, injunctive relief, and a declaration that such agreement is unlawful.



                                                  38
         Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 39 of 41




       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court enter judgment on their behalf and that of

the Class by adjudging and decreeing that:

       A.      This action may be maintained as a class action, with Plaintiffs as the designated

Class representatives and their counsel as Class counsel;

       B.      Defendants engaged in a trust, contract, combination, or conspiracy in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1 and that Plaintiffs and the members of the Class have

been damaged and injured in their business as a result of this violation;

       C.      The alleged conduct be adjudged and decreed to be a per se violation of Section 1

of the Sherman Act, 15 U.S.C. § 1, or in the alternative, a violation of Section 1 of the Sherman

Act, 15 U.S.C. § 1, under the quick look or rule of reason frameworks;

       D.      Plaintiffs and the members of the Class recover threefold the damages

determinedto have been sustained by them as a result of the conduct of Defendants complained

of herein and that judgment be entered against Defendants for the amount so determined;

       E.      Judgment be entered against Defendants in favor of Plaintiffs and each member

ofthe Class, for restitution and disgorgement of ill-gotten gains as allowed by law and equity as

determined to have been sustained by them;

       F.      For prejudgment and post-judgment interest;

       G.      For equitable relief, including an order that the anti-trust practices

cease and a judicial determination of the rights and responsibilities of the parties;
                                                39
     Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 40 of 41



H.       For attorneys’ fees;

I.       For costs of suit; and

J.       For such other and further relief as the Court may deem just and proper.




                                         40
          Case 3:22-cv-00166-JCH Document 1 Filed 01/28/22 Page 41 of 41



        JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a jury trial for all

 claims and issues so triable.


Dated: January 28, 2022                      PLAINITFFS



                                             By_______/s/          ___________
                                             Bruce E. Newman (ct12301)
                                             Cody N. Guarnieri (ct29237)
                                             Brown Paindiris & Scott, LLP
                                             100 Pearl Street
                                             Hartford, CT 06103
                                             Tel.: 860-522-3343
                                             Fax: 860-522-2490
                                             bnewman@bpslawyers.com
                                             cody@bpslawyers.com




                                                 41
